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                     IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,

                     Plaintiff,                               4:03CR3014

      vs.
                                                   DETENTION ORDER PENDING
CHRISTOPHER A. GANT,                                 REVOCATION HEARING

                     Defendant.

      The defendant was afforded an opportunity for a hearing, but is currently being
held in state custody, and he agreed to waive his right to a detention hearing. The
defendant has therefore failed to meet the burden of showing, by clear and convincing
evidence pursuant to 18 U.S.C. § 3143 (a) and Fed. R. Crim. P. Rule 32.1(a)(6), that
defendant will appear at court proceedings and will not pose a danger to the safety of any
person or the community if released.

      Accordingly,

      IT IS ORDERED:

      1)     The defendant shall be returned to state custody for confinement on state
             charges.

      2)     Upon release from state custody, the U.S. Marshal is commanded to take
             custody of the above-named defendant for further proceedings in this court.

      October 29, 2013.

                                         BY THE COURT:

                                         s/ Cheryl R. Zwart
                                         United States Magistrate Judge
